Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5956 Page 1 of 11




             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 OWNER-OPERATOR INDEPENDENT
 DRIVERS ASSOCIATION, INC., and
 THOMAS SHUTT, WILLIAM PIPER, DON
 SULLIVAN, SR., JAMES MURPHY, and
 WALTER WILLIAMS individually, and on
 behalf of all others similarly situated,
        Plaintiffs,                                      MEMORANDUM DECISION AND
                                                         ORDER ON FINALIZATION OF
                                                         THE ACCOUNTING OF ESCROW
                                                         ACCOUNTS, DEFENDANT’S
                                                         PROPOSED SET-OFFS, ACTUAL
                                                         DAMAGES, AND RESTITUTION


                vs.


 C. R. ENGLAND, INC.,                                    Case No. 2:02-CV-950 TS
        Defendant.




                                       I. BACKGROUND

       This case came before the Court on Plaintiffs’ allegations that the form lease agreements

Defendant required its independent contractor drivers to sign violated the Federal Truth in Leasing

Act – 49 U.S.C. §§ 14102 and 14704, et seq. – and accompanying Department of Transportation

Regulations (the “Regulations”) – 49 C.F.R. § 376, et seq. Plaintiffs alleged: (1) that the lease

agreements, known as the Independent Contractor Operating Agreements (“ICOA”), failed to clearly



                                                1
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5957 Page 2 of 11




specify certain charge-backs against compensation; (2) that Defendant unlawfully forced individual

Plaintiffs to purchase certain services as a condition of entering into the ICOA; and (3) that

Defendant mismanaged escrow funds by using monies in escrow funds for items not specifically

mentioned in the ICOA, actions prohibited by the Regulations.            Plaintiffs initially sought

declaratory, injunctive, and monetary relief, but withdrew and waived their claims for money

damages shortly before trial.1

       A Bench Trial was held from October 17, 2006 through October 25, 2006, and the Court

issued its Findings of Fact and Conclusions of Law (“Findings”) on June 20, 2007.2 In the Findings,

the Court held that Defendant had violated the Regulations in all three respects.3 The Court also

held, and hereby restates the holding, that Plaintiffs failed to prove actual damages with respect to

the charge-backs against compensation.4 The Court held that it was not authorized to order

restitution in the absence of actual damages and that injunctive relief was inappropriate. Plaintiffs

claims regarding charge-backs and forced purchases are thus disposed of, and the only remaining

issue for the Court is the violation of the Regulations as they pertained to escrow accounts.

       The Court ordered an accounting of the escrow accounts held by Defendant under the ICOA

(the “Accounting”) to determine if and when Defendant had improperly deducted unauthorized (not

specifically mentioned in the ICOA) amounts from escrow accounts on an individual account basis.



       1
           See Docket No. 251, at 7.
       2
           Docket No. 299.
       3
           Docket No. 299, ¶ 47.
       4
          Docket No. 299, ¶ 49. Although the Court did not therein find, it hereby does so find
that, as to forced purchases, no actual damages have been proven and Plaintiffs are therefore
precluded from receiving restitution for those claims.

                                                 2
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5958 Page 3 of 11




On August 20, 2007, Defendant filed a Proposal Regarding Class-Wide Accounting, 5 and Plaintiffs

filed their Response on October 10, 2007,6 objecting to various portions of the Proposal. On January

1, 2008, Defendant filed a Motion to Limit Scope of Accounting,7 which led to the Court’s March

4, 2008 Order,8 in which the Court held that: (1) all drivers who had signed the ICOA must be

included in the Accounting; and (2) detailed deductions for refurbishment must be included in the

Accounting. The Court also held that items specified in the Vehicle Lease Agreement (“VLA”), an

additional agreement between Defendant and individual Plaintiffs, could not be considered as

incorporated into the ICOA, and therefore could not be included in the Accounting. The Court

postponed a determination regarding Defendant’s proposed set-offs until the Accounting was

complete.

       On April 14, 2008, Defendant filed a Report on Accounting,9 and on April 18, 2008,

Plaintiffs filed a Motion for Supplemental Proceedings for the Award of Restitution and to Reject

Defendant’s Accounting.10 The Court heard oral arguments on June 2, 2008, on the Motion, and

issued preliminary findings that: (1) the Court can award restitution after a showing of actual

damages; and (2) there may be legitimate offsets or recoupment.




       5
        Docket No. 305.
       6
        Docket No. 309.
       7
        Docket No. 317.
       8
        Docket No. 322.
       9
        Docket No. 328.
       10
            Docket No. 328.

                                                 3
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5959 Page 4 of 11




        A Status Conference was held October 20, 2008 (the “Status Conference”), and parties

presented oral arguments and status reports regarding the state of the Accounting and possible

avenues for resolving any issues surrounding actual damages. The Parties agree to the basic form

of the Accounting, with remaining disputes centered around Defendant’s proposed set-offs against

the balances remaining in the escrow accounts. Specifically, Plaintiffs dispute the following

proposed set-offs: (1) specific repair and tire purchases; (2) truck refurbishment deductions; (3)

remaining truck lease payments; (4) truck insurance; (5) fuel and other trip expenses; (6) Federal

Highway Use Tax; (7) Settlement administration fee, Insurance administration fee, and satellite

usage fee; (8) other insurance; (9) “Auto advance;” (10) License and permits; (11) OFS bookkeeping

services; (12) Salary advance; and (13) “other.”

                               II. ACCOUNTING AND DAMAGES

        The Court must finalize the Accounting, which requires the Court to determine which, if any,

of the proposed set-offs may be considered in the Accounting. Once the Accounting has been

completed, Plaintiffs will be entitled to restitution if actual damages can be proven. Plaintiffs argue

that “[t]he measure of damages is . . . the unrecovered amounts remaining in the maintenance

escrows at the time of termination of each class member.”11 The Arctic Express court rejected

“impos[ing] punitive damages on the Defendants” or “provid[ing] Plaintiffs with an unjustifiable

windfall.”12 Defendant argued at the Status Conference that actual damages can only be determined

after considering all debts legitimately owed to Defendant by individual Plaintiffs. The Court is

sitting in equity in this case, and equity requires that debts legitimately owed by individual Plaintiffs


        11
        Owner-Operator Independent Drivers Association v. Arctic Express, 288 F. Supp. 2d
895, 908 (S.D. Ohio 2003).
        12
             Id.

                                                   4
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5960 Page 5 of 11




to Defendant not go unpaid. To allow Plaintiffs to avoid legitimate debts to Defendant would be to

impose punitive damages on Defendant and result in an unjustifiable windfall to Plaintiffs.

       The Court finds that determination of actual damages must be calculated on an individual

basis, rather than as a class. The Accounting, once completed, will allow Plaintiffs to see, for each

leased truck, the amount owed each individual Plaintiff from the escrow accounts. That is the

measure of Defendant’s wrongful conduct in this matter, and it mandates that Defendant be allowed

to include in the Accounting only lawful deductions from escrow accounts. However, Plaintiffs are

wrong in their assertion that the measure of wrongfulness is also the measure of actual damages.

The Court finds that the amount of actual damages is the net amount owed each individual Plaintiff

under the escrow accounts, the ICOA, and any other employment-related agreements between

Plaintiffs and Defendant.13 Stated another way, the class member is entitled to receive as actual

damages those monies which that class member paid into any or all of the three escrow accounts,

less actual obligations incurred by that class member that were authorized by the ICOA or another

agreement between that class member and Defendant.

            Therefore, for the reasons given below, Defendant will be ordered to finalize the

Accounting, and will be ordered to include as a deduction only those deductions listed under

“specific repair and tire purchases.” All other proposed deductions will be excluded from the

Accounting. The case will then enter an individual damages phase, wherein a truck-by-truck




       13
         As noted above, the Court has previously held that the VLA cannot be considered part
of the Lease agreement between Plaintiffs and Defendant, so the VLA cannot be considered in
any determination of actual damages under the Lease. Certain other agreements may be
considered to the extent they relate to the Lease agreement signed by individual Plaintiffs and
Defendant.

                                                 5
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5961 Page 6 of 11




analysis of actual damages will take place. Within that analysis, the starting point will be the

balance of the escrow accounts, as determined by the Accounting.

       The Parties will have opportunity to present evidence regarding the legitimacy of certain

debts allegedly owed by Plaintiffs to Defendant. If the total value of legitimate debts owed by an

individual Plaintiff to Defendant for the truck leased by that Plaintiff is greater than the balance of

the escrow account, actual damages will not have been proved, and no restitution will be ordered.

If, however, the total value of legitimate debts owed by an individual Plaintiff to Defendant is less

than the balance of the escrow account, the difference will be the measure of actual damages and

restitution will be ordered, along with payment of reasonable interest.

                            III. DEFENDANT’S PROPOSED SET-OFFS

       1.         Specific repair and tire purchases

       “Plaintiffs do not contest that Class members approved deductions from their maintenance

escrow funds for repairs and tire purchases during their lease.”14 However, Plaintiffs argue that any

undisclosed mark-ups may not be deducted. However, this ignores the Court’s express holding that

Defendant is not prohibited from making a profit, and that the violation regarding mark-ups was a

disclosure violation only. Therefore, all repair and tire purchases are approved deductions from

escrow accounts, and must be included in the Accounting. Because these set-offs will be deducted

prior to finalizing the Accounting, they will not be considered during the analysis of damages.

       2.         Truck refurbishment charges

       Truck refurbishment charges are not included in the ICOA, and therefore may not be

deducted from escrow accounts under the Regulations. Defendant argues that they are included in



       14
            Pl.’s Status Report (Docket No. 345), at 4.

                                                   6
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5962 Page 7 of 11




the VLA, but the Court has previously held that the VLA is not considered part of the Lease under

the Regulations. Therefore, truck refurbishment charges will be excluded from the Accounting.

       Truck refurbishment charges will also be excluded from the analysis of damages. Defendant

argues that the refurbishment charges are legitimate, in that refurbishment repairs were actually

performed on the trucks, and that it would constitute unjust enrichment if class members were not

required to pay for those repairs. However, the Court’s previous holding that the VLA may not be

considered as part of the Lease precludes consideration of any deduction for which Plaintiffs owe

a contractual obligation solely under the VLA.

       3.      Remaining truck lease payments

       The truck lease payments were not mentioned as authorized deductions from any escrow

accounts, so the Court will order that truck lease payments be excluded from the Accounting.

However, truck lease payments were mentioned in Addendum 3 to the ICOA, and may therefore be

considered during the damages analysis, as a potentially legitimate debt owed by individual Plaintiffs

to Defendant. The Court notes that truck lease payments were also mentioned in the VLA, and

directs that consideration of lease payments exclude any terms in the VLA regarding truck lease

payments.

       4.      Truck insurance, insurance administration fee, and other insurance

       There is no argument by either party that truck insurance payments were specifically

mentioned as authorized deductions from escrow accounts, so they will be excluded from the

Accounting. However, insurance deductions from compensation are specifically mentioned in

Addendum 3 to the ICOA, so insurance deductions may be considered during the damages analysis.

       5.      Fuel and other trip expenses



                                                  7
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5963 Page 8 of 11




       The Court found that Plaintiffs consented to a charge-back against compensation for fuel

costs incurred by Plaintiffs through the use of special cards that allowed them to gain a discount on

fuel at certain truck stops. Neither party contends that these deductions were authorized to be made

from escrow accounts, so they will be excluded from the Accounting.

       The Court also found that Defendant failed to disclose to Plaintiffs the mark-up on fuel

discounts, and failed to provide Plaintiffs with a recitation of how the charges were to be computed.

However, the Court also held that making a profit on fuel mark-ups was not a violation of the

Regulations, and that the violation of the Regulations was merely the failure to disclose. The Court

reaffirms that there is no violation inherent in making a profit, only in the failure to properly

disclose the mark-up, and will allow evidence regarding these deductions to be considered during

the damages analysis.

       6.      Federal Highway Use Tax

       The Court has already found that the ICOA provided for a deduction of $0.015 per mile to

pay federal highway use taxes, and that Defendant deducted it from compensation and considered

it a fuel/road tax escrow fund. The Court has also held that there was no specific mention of a

fuel/road tax escrow fund, nor did the ICOA specify to which items any such escrow funds could

be applied, nor did the ICOA specify the conditions under which Plaintiffs would receive those

escrow funds. The Court will order that any such deductions be excluded from the Accounting.

However, the Court will allow Defendant to present evidence regarding actual expenses for the

Federal Highway Use Tax during the damages analysis.

       7.      Settlement administration fee and satellite usage fee




                                                 8
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5964 Page 9 of 11




       These fees are unrelated to any escrow accounts, and so must be excluded from the

Accounting. However, these fees are explicitly referenced in Addendum 3 of the ICOA, so they may

be considered during the damages analysis.

       8.      “Auto Advance”

       The Auto Advance category refers to a charge-back against compensation when there is a

negative balance from a previous settlement. Defendant claims that it is a legitimate deduction under

the ICOA, which authorizes Defendant to deduct any debt owed to Defendant by individual drivers.

Plaintiffs argue that it is not specifically mentioned in the ICOA, and so cannot be deducted. The

Court finds that paragraph 4 of the ICOA authorizes Defendant to deduct from pay any advances to

individual drivers, including Defendant’s proposed set-off for auto advance. These are not

authorized deductions from escrow accounts, so these charges must be excluded from the

Accounting. They can, however, be considered during the damages analysis.

       9.      License and Permits

       Plaintiffs argue that this category of set-off is improper, because it is a debt owed to a

separate entity, namely Opportunity Leasing. Defendant notes that Addendum 3 to the ICOA

identifies license and permit charges as an item that may be deducted from settlement statements.

These arguments center around the propriety of deducting the amounts from compensation, not from

escrow accounts. These amounts must therefore be excluded from the Accounting, but may be

considered during the damages analysis.




                                                 9
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5965 Page 10 of 11




       10.     OFS bookkeeping services

       “Plaintiffs correctly point out that OFS bookkeeping services are not disclosed in the ICOA

. . .”15 Defendant argues, however, that the services were separately authorized by drivers, to be

deducted from compensation. It is clear that fees for OFS bookkeeping services were not

specifically authorized as a deduction from escrow accounts, so they have no place in the

Accounting. However, evidence regarding the legitimacy of these charges may be considered during

the damages analysis.

       11.     Salary Advance

       The Court finds that paragraph 4 of the ICOA authorizes deduction of salary advances. Any

such deductions, however, are from pay and not from escrow account balances. Therefore, the Court

will order that any salary advance deductions be excluded from the Accounting and considered only

during the damages analysis.

       12.     Other

       Plaintiffs argue that Defendant’s “other” category is too broad and too undefined. Defendant

argues that the expenses listed under “other” are legitimate. Only where the ICOA expressly

mentions deductions from escrow accounts can such deductions be included in the Accounting. The

Court finds that the “other” category is too undefined, and will order that any such expenses be

excluded from the Accounting. Defendant, however, will be allowed to present evidence regarding

the legitimacy of these expenses during the damages analysis.

                                      IV. CONCLUSION

       It is therefore



       15
         Def.’s Response to Pl.’s Status Report (Docket No. 354) at 18.

                                               10
Case 2:02-cv-00950-TS Document 358 Filed 10/24/08 PageID.5966 Page 11 of 11




        ORDERED that Defendant finalize the accounting of escrow accounts ordered by the Court

on June 20, 2007, including only the first of its proposed set-offs, “Specific repair and tire

purchases.” The Accounting is to be finalized and submitted to the Court within 30 days of the date

of this Order. It is further

        ORDERED that, upon submission of the finalized accounting of escrow accounts, the case

will be referred to Magistrate Judge David Nuffer for a truck-by-truck analysis of actual damages.

Actual damages must be proved on an individual basis before restitution may be ordered. This

analysis will incorporate consideration of the finalized accounting, as well as the following set-offs

proposed by Defendant, in the manner discussed above: remaining truck lease payments; truck

insurance; fuel and other trip expenses; Federal Highway Use Tax; Settlement administration fee;

Insurance administration fee; Satellite usage fee; Other insurance; “Auto advance;” License and

permits; OFS bookkeeping services; Salary advance; and “other.”

        DATED October 24, 2008.

                                               BY THE COURT:



                                               _____________________________________
                                               TED STEWART
                                               United States District Judge




                                                 11
